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                         IN THE UNITED STATES DISTRICT COIJRT
                        FOR THE SOUTHERN DISTRICT OF FLO RIDA ,
                                  FO RT LAUDERDALE


                                                    C A SE N O .11-CV -62661-J1C

 LILA LEV Y,

        Plaintiff,

 V S.

 H O M E D EPO T U .S.A .,IN C.,

        D efendant.
                                                /



                                   M EDIATOR'S REPO RT

 This matterwas m ediated by aIIpadies, before m e the undersigned Mediatoron the
 24thday ofApril,2012.

           The parties have negotiated in good faith,buthave rendered an im passe.


 Each party shallbeartheirresped ive attorney's fees and costs. AIIm atters raised at
 the conference rem ain privileged,unless othe- ise agreed to by aIIpadies.

           Dated this   A    dayof                        ,   2012.




                                             Y P     HLE ,M EDIATOR
